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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 ROBERT WHARTON,                                       CIVIL ACTION
                     Petitioner,                       No. 2:01-cv-06049-MSG
       v.
                                                       CAPITAL CASE
 DONALD T. VAUGHN,

                     Respondent.



               MOTION OF THE DISTRICT ATTORNEY’S OFFICE
                       FOR BRIEF CONTINUANCE


      The District Attorney’s Office (“DAO”) respectfully requests a continuance of the

hearing currently scheduled for June 10, and in support thereof, states:

      1.      Pursuant to the Court’s Orders dated May 13 and 26, 2022 (ECF Nos. 286

and 288, respectively), this Court scheduled a hearing regarding the Court’s

“preliminary conclusion” expressed in its May 11, 2022 Memorandum and Opinion “that

there has been a breach of [the DAO’s] duty of candor.” See ECF 284.

      2.      The Court initially scheduled a hearing for June 2, 2022 (per its May 13,

2022 Order, ECF 286) and then postponed it at the DAO’s request, scheduling the

hearing for June 10, 2022 (per May 26, 2022 Order, ECF 288).

      3.      The Pennsylvania Office of the Attorney General (“AG”) filed on May 31,

2022 a motion requesting an adjournment of the June 10 hearing date. (ECF 289).

      4.      By Order dated June 1, 2022, the Court denied the AG’s request (ECF 293).

      5.      Also on June 1, 2022, the undersigned entered their appearance on behalf

of the DAO.
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         6.    The Wharton matter has spanned more than twenty-one years, and the

Court held five days of hearings that led it to issue its May 11, 2022, Memorandum and

Opinion.

         7.    The undersigned require an extension of time to sufficiently familiarize

themselves with the Court’s Memorandum and subsequent Orders, as well as allow

them to prepare appropriate factual and legal responses to the matters raised by the

Court.

         8.    Finally, there is no prejudice caused by a reasonable adjournment of the

June 10, 2022, date for the requested 11 to 14 days. In contrast, those additional days

are important to allow the DAO and its counsel to prepare.

         WHEREFORE, we respectfully request that the June 10 hearing be rescheduled

to a date providing sufficient time for new counsel and for when the DAO and its

counsel are available. We respectfully propose, June 21, 22, 23 or 24.

 Dated: June 2, 2022
                                           Respectfully submitted,

 KAIRYS, RUDOVSKY, MESSING,                HANGLEY ARONCHICK SEGAL
 FEINBERG & LIN                            PUDLIN & SCHILLER

 By: /s/ David Rudovsky                    By: /s/ John S. Summers
     David Rudovsky (No. 15168)                John S. Summers (No. 41854)
     drudovsky@krlawphila.com                  jsummers@hangley.com
                                               Andrew M. Erdlen (No. 320260)
                                               aerdlen@hangley.com

 718 Arch Street, Suite 501 South          One Logan Square, 27th Floor
 Philadelphia, PA 19106                    Philadelphia, Pennsylvania 19103
 (215) 925-4400                            (215) 568-6200

                                           Counsel for the Philadelphia District
                                           Attorney’s Office




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                           CERTIFICATE OF SERVICE

      I, John S. Summers, hereby certify that on June 2, 2022, I caused the foregoing

Motion for Brief Continuance to be served on the following counsel of record via ECF:


      James P. Barker
      Cari Mahler
      Pennsylvania Office of Attorney General
      16th Floor-Strawberry Square
      Harrisburg, PA 17120

      Elizabeth McHugh
      Claudia Van Wyk
      Federal Community Defender Office
      Capital Habeas Corpus Unit District Attorney’s Office
      601 Walnut Street, Suite 545 West 3 South Penn Square
      Philadelphia, PA 19106


                                        /s/ John S. Summers
                                        John S. Summers

                                        Counsel for the Philadelphia District
                                        Attorney’s Office
